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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

                   HOMELAND INSURANCE COMPANY OF NEW YORK,
                             Plaintiff / Counter Defendant

                                                   v.

                   CLINICAL PATHOLOGY LABORATORIES, INC., et al.,
                             Defendants / Counter Plaintiffs,

                                     Case No. 1:20-CV-783-RP

                        AMENDED AGREED SCHEDULING ORDER

       Pursuant to Federal Rule of Civil Procedure 16, the following Agreed Amended

Scheduling Order is issued by the Court:

       1.       All parties asserting claims for relief shall file their designation of testifying

                experts and serve on all parties, but not file, the materials required by Federal

                Rule of Civil Procedure 26(a)(2)(B) on or before November 23, 2022.

       2.       Parties resisting claims for relief shall file their designation of testifying experts

                and serve on all parties, but not file, the materials required by Federal Rule of

                Civil Procedure 26(a)(2)(B) on or before December 21, 2022.

       3.       All parties shall file all designations of rebuttal experts and serve on all parties the

                material required by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal

                experts, to the extent not already served, 15 days from the receipt of the report of

                the opposing expert.

       4.       An objection to the reliability of an expert’s proposed testimony under Federal

                Rule of Evidence 702 shall be made by motion, specifically stating the basis for

                the objection and identifying the objectionable testimony, within 11 days from the

                receipt of the written report of the expert’s proposed testimony, or within 11 days



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         from the completion of the expert’s deposition, if a deposition is taken, whichever

         is later.

5.       The parties shall complete all discovery on or before October 28, 2022.

6.       All dispositive motions shall be filed on or before November 15, 2022 and shall

         be limited to 20 pages. Responses shall be filed and served on all other parties

         not later than 14 days after the service of the motion and shall be limited to

         20 pages. Any replies shall be filed and served on all other parties not later than

         7 days after the service of the response and shall be limited to 10 pages, but the

         Court need not wait for the reply before ruling on the motion.

7.       The Court will set this case for final pretrial conference at a later time. The final

         pretrial conference shall be attended by at least one of the attorneys who will

         conduct the trial for each of the parties and by any unrepresented parties. The

         parties should consult Local Rule CV-16(e) regarding matters to be filed in

         advance of the final pretrial conference.

8.       This case is set for Jury trial commencing at 9:00 a.m. on February 27, 2023.

         By filing an agreed motion, the parties may request that this Court extend any

         deadline set in this Order, with the exception of the dispositive motions deadline

         and the trial date. The Court may impose sanctions under Federal Rule of Civil

         Procedure 16(f) if the parties do not make timely submissions under this Order.



                                    August 1
         SIGNED on __________________________________________,   22
                                                               20__.




                                        ROBERT PITMAN
                                        UNITED STATES DISTRICT JUDGE


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